                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                   CRIMINAL ACTION NO. 3:07-CR-119-FDW-DCK


UNITED STATES OF AMERICA,               )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )                  ORDER
                                        )
ALFREDO HOMES SUSI,                     )
                                        )
            Defendant.                  )
_______________________________________ )

          THIS MATTER IS BEFORE THE COURT sua sponte. On November 19, 2007, the

undersigned issued an Order (Document No. 65) requiring Attorney George A. Young to file a reply

on or before November 26, 2007 to the Government’s “Suggestion of Inquiry Into George A.

Young’s Application to Appear Pro Hac Vice” (Document No. 63). The undersigned’s staff has

been informed that Mr. Young is currently hospitalized and undergoing back surgery. In light of

Mr. Young’s medical condition, the Court will extend Mr. Young’s time to file a reply to Document

No. 63.

          IT IS, THEREFORE, ORDERED that George A. Young shall file a reply to Document

No. 63 on or before December 7, 2007.




                                      Signed: November 26, 2007




    Case 3:07-cr-00119-FDW-DCK            Document 66       Filed 11/26/07     Page 1 of 1
